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                                                                                                            5/19/2022 9:15 AM
                           Inspired Living at Lewisville (ill)

                               Balance Sheet
                                  As of April 30,2022


                                                                 Current Balance
CASH
Cash - Operating                                                          79,819.75
Cash - Disbursements                                                     535,831.02
TOTAL CASH                                                              615,650.77
ESCROW
Reserve Acct Prop Taxes                                                  200,000.00
TOTAL ESCROW                                                            200,000.00
ACCOUNTS RECEIVABLE - RESIDENTS
A/R - Resident                                                            37,376.00
Allowance for Doubtful Accounts - Resident                                 -5,603.13
TOTAL ACCOUNTS RECEIVABLE - RESIDENTS                                    31,772.87
DUE TO/FROM
Due to/from Validus Senior Living REIT IMC LLC                               640.24
Due to/from Senior Living VI LLC (ILSL)                                      125.00
TOTAL DUE TO/FROM                                                           765.24
PREPAID EXPENSES AND OTHER ASSETS
Prepaid AHCA                                                                 356.25
Prepaid Insurance - Health Care                                           17,645.51
Prepaid Insurance Business                                                80,782.60
Prepaid Insurance Worker's Comp                                            3,664.48
Prepaid Other                                                              4,750.07
TOTAL PREPAID EXPENSES AND OTHER ASSETS                                 107,198.91
RESTRICTED CASH
Utility Deposits                                                           1,049.42
TOTAL RESTRICTED CASH                                                     1,049.42
FIXED ASSETS
Building Improvements                                                    139,480.18
Furniture & Fixtures                                                       9,086.37
Equipment                                                                178,176.65
Vehicles                                                                  71,418.56
Computer Hardware                                                         40,351.24
Computer Software                                                          2,215.39
TOTAL FIXED ASSETS                                                      440,728.39
TOTAL ASSETS                                                          1,397,165.60
LIABILITIES & CAPITAL
LIABILITIES
ACCOUNTS PAYABLE
Accounts Payable                                                         351,290.77
Accrued Accounts Payable                                                 127,186.27
TOTAL ACCOUNTS PAYABLE                                                  478,477.04
ACCRUED WAGES & BENEFITS
Accrued Wages                                                             99,193.15

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                                                                                                             5/19/2022 9:15 AM
                            Inspired Living at Lewisville (ill)

                                Balance Sheet
                                  As of April 30,2022


                                                                  Current Balance
Accrued Vacation                                                           17,585.53
Employee Voluntary Life Insurance                                           -1,015.91
401K Withholding                                                             1,942.84
Short Term/Long Term Disability                                                22.41
Vision / Dental                                                               741.80
HSA                                                                           543.20
Accrued Off Cycle Wages                                                     -2,070.89
TOTAL ACCRUED WAGES & BENEFITS                                           116,942.13
ACCRUED EXPENSES
Accrued Workers Comp - IBNR                                                       0.03
Accrued Contract Services                                                   -1,502.40
P-Card Payable                                                               5,681.24
Prepaid Rent                                                               77,712.50
Miscellaneous Liabilities                                                   -1,570.68
TOTAL ACCRUED EXPENSES                                                    80,320.69
ACCRUED PROPERTY TAXES
Accrued Property Taxes                                                   2,133,310.04
TOTAL ACCRUED PROPERTY TAXES                                           2,133,310.04
ACCOUNTS PAYABLE-RELATED PARTY
Due to/from Members                                                      2,382,555.40
TOTAL ACCOUNTS PAYABLE-RELATED PARTY                                   2,382,555.40
TOTAL CURRENT LIABILITIES                                              5,191,605.30
SECURITY DEPOSITS
Patient / Tenant Refunds                                                     2,396.05
TOTAL SECURITY DEPOSITS                                                    2,396.05
MEMBERS EQUITY
Retained Earnings, Prior                                                -5,101,611.63
Retained Earnings, Current                                               1,304,775.88
TOTAL MEMBERS EQUITY                                                  -3,796,835.75
TOTAL LIABILITIES & CAPITAL                                            1,397,165.60




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                                                     Case 8:22-bk-00103-CED        Doc 127-1          Filed 05/19/22   Page 3 of 23
Aging By Accounting Period - Detail
For: ill
Month: 04/2022
Resident                           Unit - Privacy Level           Total                  1 Month           2 Months     3 Months      4 Months   5 + Months                Pre-
Payer                              Payer Phone                     Due      Current      Past Due          Past Due     Past Due      Past Due     Past Due            Payments
Community: ill - Inspired Living at Lewisville
Resident Status: Current
Anderson, Melva (00008040)         214 - Single

Anderson III, Chester (90019938)   (972) 317-9166                $30.00       $0.00         $30.00            $0.00        $0.00         $0.00        $0.00                    $0.00

Arnold, Ursula (00003470)          135 - Single

Arnold, Olney (90009997)           (770) 865-5386                 $0.00       $0.00          $0.00            $0.00        $0.00         $0.00        $0.00             $6,605.00

Bell, Patricia (00002370)          162 - Single

Bell, Matt (90007641)              (214) 394-3407                 $0.00       $0.00          $0.00            $0.00        $0.00         $0.00        $0.00             $3,200.00

Bowen, Sara (00008641)             238 - Single

Johnston, Katherine (90021363)     (972) 679-5161                 $0.00       $0.00          $0.00            $0.00        $0.00         $0.00        $0.00                    $0.01

Bradford, Bill (t0008775)          335 - Second Resident

Bradford, Karen (90021651)         (214) 738-6715               $236.84     $236.84          $0.00            $0.00        $0.00         $0.00        $0.00                    $0.00

Bradford, Clair (00008774)         335 - Single

Bradford, Karen (90021651)         (214) 738-6715             $2,926.64    $2,926.64         $0.00            $0.00        $0.00         $0.00        $0.00                    $0.00

Brede, Adella (00002707)           331 - Single

Brede, James (90008286)            (972) 333-4225                 $0.00       $0.00          $0.00            $0.00        $0.00         $0.00        $0.00             $4,973.00

Davis, Judy (00003748)             100 - Single

Davis, Judy (90010619)             (214) 912-2258                 $0.00       $0.00          $0.00            $0.00        $0.00         $0.00        $0.00             $1,179.16

Davis, Mike (00003749)             102 - Single

Davis, Mike (90010620)             (214) 927-2744             $1,179.18    $1,179.18         $0.00            $0.00        $0.00         $0.00        $0.00                    $0.00

Fields, Linda (00008118)           308 - Single

Hindeman, Jamie (90020112)         (469) 855-3283                $30.00      $30.00          $0.00            $0.00        $0.00         $0.00        $0.00                    $0.00

Garcia, Mary (00008624)            333 - Single

Garcia, Mary (90021318)            (000) 000-0000            $(1,500.00)      $0.00     $(1,500.00)           $0.00        $0.00         $0.00        $0.00                    $0.00

Gardner, George (00003914)         108 - Single

Petteway, Traci (90010988)         (972) 420-6353                 $0.00       $0.00          $0.00            $0.00        $0.00         $0.00        $0.00             $2,975.00

Goff, George (00008844)            334 - Single

Cevallos, Sally (90021141)         (972) 679-0191             $3,907.23    $3,907.23         $0.00            $0.00        $0.00         $0.00        $0.00                    $0.00

Goff, Linda (t0008845)             334 - Second Resident

Cevallos, Sally (90021141)         (972) 679-0191               $210.52     $210.52          $0.00            $0.00        $0.00         $0.00        $0.00                    $0.00

Gorman, Kay (00008664)             126 - Single

Vilhauer, Sarah (90021419)         (000) 000-000                 $(0.01)     $(0.01)         $0.00            $0.00        $0.00         $0.00        $0.00                    $0.00

Gray, Kennedy Alston (00007630)    209 - Single

Gray, Kennedy Alston (90019008)    (832) 418-0687               $430.00     $430.00          $0.00            $0.00        $0.00         $0.00        $0.00                    $0.00



                                                                                                                                                     Wednesday, May 18, 2022
                                                   Case 8:22-bk-00103-CED       Doc 127-1       Filed 05/19/22   Page 4 of 23
Aging By Accounting Period - Detail
Henry, Jan (00003229)            128 - Single

Gravely, Julie (90009448)                                      $0.00       $0.00        $0.00           $0.00        $0.00      $0.00    $0.00             $4,995.00

Henry, John (t0003230)           128 - Second Resident

Gravely, Julie (90009448)                                     $56.00       $0.00        $0.00           $0.00        $0.00      $0.00   $56.00                    $0.00

Hoisington, Donna (00008713)     301 - Single

Hilbrich, David (90021530)       (952) 657-4191               $29.99       $0.00       $29.99           $0.00        $0.00      $0.00    $0.00                    $0.00

Huff, Clifford (00007849)        115 - Single

Huff, Clifford (90019498)        (214) 222-5335                $0.00       $0.00        $0.00           $0.00        $0.00      $0.00    $0.00             $6,289.00

Klein, Patricia (00007994)       217 - Double B

Klein, James (90019816)                                       $20.00      $20.00        $0.00           $0.00        $0.00      $0.00    $0.00                    $0.00

Klein, Winifred (t0007995)       217 - Double A

Klein, James (90019816)                                       $75.00      $75.00        $0.00           $0.00        $0.00      $0.00    $0.00                    $0.00

Koeniger, Lambert (00008741)     112 - Single

Trice, Linda (90021583)          (432) 889-1041                $0.00       $0.00        $0.00           $0.00        $0.00      $0.00    $0.00               $413.16

Leeper, John (00003668)          205 - Single

Leeper, Emmanuel (90010433)      (214) 208-9690             $(300.00)   $(300.00)       $0.00           $0.00        $0.00      $0.00    $0.00               $150.00

Martin, Helen (00007663)         233 - Single

Martin, Helen (90019081)         (972) 896-5484                $0.00       $0.00        $0.00           $0.00        $0.00      $0.00    $0.00             $1,414.82

Mayerhofer, Jeannie (00008523)   228 - Single

Mayerhofer, Marcus (90020965)    (972) 315-1515               $30.00      $30.00        $0.00           $0.00        $0.00      $0.00    $0.00                    $0.00

McCutcheon, Karen (00007361)     139 - Single

Vivian, Kristy (90018397)        (469) 980-6897                $0.00       $0.00        $0.00           $0.00        $0.00      $0.00    $0.00             $5,345.00

Moore, Jan (00008383)            317 - Single

Moore, Carolyn (90020739)        (972) 462-0297                $0.00       $0.00        $0.00           $0.00        $0.00      $0.00    $0.00             $6,895.00

Moore, Jess (t0008384)           317 - Second Resident

Moore, Carolyn (90020739)        (972) 462-0297                $0.00       $0.00        $0.00           $0.00        $0.00      $0.00    $0.00             $1,600.00

Pavletic, Virginia (00008363)    104 - Single

Rynd, Nancy (90020690)           (469) 506-9501              $250.00     $250.00        $0.00           $0.00        $0.00      $0.00    $0.00                    $0.00

Penca, Betty (00002487)          154 - Single

Penca, John (90006370)                                         $0.00       $0.00        $0.00           $0.00        $0.00      $0.00    $0.00             $5,245.00

Pugliese, Vito (00007359)        145 - Double A

Pugliese, James (90018393)       (214) 543-6178                $0.00       $0.00        $0.00           $0.00        $0.00      $0.00    $0.00             $6,190.00

Ruuska, Diana J. (00008785)      323 - Single

Ruuska, Greg (90021681)          (972) 896-1978            $4,523.69    $4,523.69       $0.00           $0.00        $0.00      $0.00    $0.00                    $0.00

Ruuska, Vernon R. (00008786)     323 - Second Resident

Ruuska, Greg (90021681)          (972) 896-1978            $1,473.69    $1,473.69       $0.00           $0.00        $0.00      $0.00    $0.00                    $0.00

Scott, Janet L. (00003584)       133 - Double B


                                                                                                                                        Wednesday, May 18, 2022
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Aging By Accounting Period - Detail
Scott, Linda (90010246)          (210) 379-0005             $175.00       $175.00          $0.00            $0.00       $0.00      $0.00        $0.00                    $0.00

Shambeck, Jeana (00008702)       310 - Single

Davidson, Laurie (90021507)      (469) 360-6686              $13.15        $13.15          $0.00            $0.00       $0.00      $0.00        $0.00                    $0.00

Skidmore, Bob (00007937)         148 - Single

Paratore, Alex (90019694)        (806) 773-0504               $0.00         $0.00          $0.00            $0.00       $0.00      $0.00        $0.00             $5,295.00

Springer, Donna (00003552)       103 - Single

White, Cheri (90010203)          (214) 502-4185               $0.00         $0.00          $0.00            $0.00       $0.00      $0.00        $0.00             $4,464.35

Stroope, Dr. Frank (00008776)    101 - Single

Forte MD, Judith (90021660)      (501) 343-5332              $10.00        $10.00          $0.00            $0.00       $0.00      $0.00        $0.00             $5,595.00

Turrell, Kimberly (00008622)     225 - Single

Turrell, Greg (90021313)         (214) 676-5019              $75.00        $75.00          $0.00            $0.00       $0.00      $0.00        $0.00                    $0.00

Upham, Gary (00008858)           321 - Single

Upham, Cliff (90021864)          (469) 767-0970            $3,368.09     $3,368.09         $0.00            $0.00       $0.00      $0.00        $0.00                    $0.00

Worth, Zita (00003897)           125 - Single

Sells, Katherine (90010950)      (972) 410-1144               $0.00         $0.00          $0.00            $0.00       $0.00      $0.00        $0.00             $4,889.00

Total for Resident Status: Current                       $17,250.01    $18,634.02    $(1,440.01)           $0.00       $0.00       $0.00      $56.00           $77,712.50

Resident Status: Moved Out
$Martin, $Anna (00003792)        108 - Single

$Laird, $Chris (90010714)        (972) 757-7677             $751.09         $0.00          $0.00            $0.00       $0.00      $0.00      $751.09                    $0.00

$Nelson, $Joe (00008388)         321 - Single

$Nelson, $Lorna (90020754)       (214) 783-8377            $3,018.36        $0.00      $3,018.36            $0.00       $0.00      $0.00        $0.00                    $0.00

$Polk, $Ned (00003217)           312 - Single

$Polk, $Edward (90009414)        (903) 641-3314            $6,917.00        $0.00          $0.00            $0.00       $0.00      $0.00     $6,917.00                   $0.00

$Smith, $Linda (00007570)        113 - Single

$Harnage, $Amy (90018880)        (817) 995-1754            $3,482.17        $0.00          $0.00            $0.00       $0.00      $0.00     $3,482.17                   $0.00

Gibbs, Dory (00007781)           138 - Single

Gibbs, Robert (90019358)         (928) 642-8102            $1,001.48     $1,001.48         $0.00            $0.00       $0.00      $0.00        $0.00                    $0.00

Himmler, Dorothy (00002173)      164 - Single

Himmler, Dorothy (90007098)      (256) 762-5525              $45.00        $45.00          $0.00            $0.00       $0.00      $0.00        $0.00                    $0.00

Ishii, Tei Toyoda (00002757)     143 - Single

Ichimura, Russell (90008384)     (469) 605-0165            $(591.61)     $(591.61)         $0.00            $0.00       $0.00      $0.00        $0.00                    $0.00

McDonald, Verna (00003611)       335 - Single

McDonald, Verna (90010302)       (972) 741-1884             $262.50       $262.50          $0.00            $0.00       $0.00      $0.00        $0.00                    $0.00

Verplank, Elizabeth "Betty"      227 - Single
(00007428)
Verplank, Robert (90018542)      (214) 535-3564             $350.00         $0.00          $0.00          $350.00       $0.00      $0.00        $0.00                    $0.00

Total for Resident Status: Moved Out                     $15,235.99      $717.37      $3,018.36          $350.00       $0.00       $0.00   $11,150.26                $0.00

Resident Status: On Notice


                                                                                                                                               Wednesday, May 18, 2022
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Aging By Accounting Period - Detail
Moore, Greg (t0003481)          339 - Single

Moore, Greg (90010018)          (814) 580-7271            $4,890.00     $4,610.00      $280.00           $0.00        $0.00      $0.00        $0.00                    $0.00

Total for Resident Status: On Notice                     $4,890.00     $4,610.00      $280.00            $0.00       $0.00       $0.00        $0.00                $0.00

Grand Total                                             $37,376.00    $23,961.39     $1,858.35         $350.00       $0.00       $0.00   $11,206.26          $77,712.50




                                                                                                                                             Wednesday, May 18, 2022
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  Net Due




    $30.00



$(6,605.00)



$(3,200.00)



    $(0.01)



   $236.84



 $2,926.64



$(4,973.00)



$(1,179.16)



 $1,179.18



    $30.00



$(1,500.00)



$(2,975.00)



 $3,907.23



   $210.52



    $(0.01)



   $430.00



                                                                                     Wednesday, May 18, 2022
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$(4,995.00)



    $56.00



    $29.99



$(6,289.00)



    $20.00



    $75.00



 $(413.16)



 $(450.00)



$(1,414.82)



    $30.00



$(5,345.00)



$(6,895.00)



$(1,600.00)



   $250.00



$(5,245.00)



$(6,190.00)



 $4,523.69



 $1,473.69




                                                                                     Wednesday, May 18, 2022
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     $175.00



      $13.15



  $(5,295.00)



  $(4,464.35)



  $(5,585.00)



      $75.00



   $3,368.09



  $(4,889.00)

$(60,462.49)




     $751.09



   $3,018.36



   $6,917.00



   $3,482.17



   $1,001.48



      $45.00



    $(591.61)



     $262.50



     $350.00

 $15,235.99




                                                                                       Wednesday, May 18, 2022
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   $4,890.00

  $4,890.00

$(40,336.50)




                                                                                       Wednesday, May 18, 2022
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                                                                                                                                                                                                                                                                                                                                                          5/19/2022 10:55 AM


                                                                                                                                             Payables Aging Report
                                                                                                                                                                ill
                                                                                                                                                         Period: 04/2022
                                                                                                                                                       As of : 04/30/2022
    Payee        Remittance Vendor Payee Name                                    Invoice           Control     Batch Id   Property   Invoice Date              Account                  Invoice #         Current        0-30          31-60           61-90           Over           Future       Notes
     Code                                                                         Notes                                                                                                                    Owed          Owed          Owed            Owed             90            Invoice
                                                                                                                                                                                                                                                                       Owed
    fti1715                       FTI Consulting, Inc                                                                                                                                                                                                                                       0.00
                                                                                                  P-146019      29347        ill      12/17/2021    86034-90 Non Operating Expenses      7607495            35,043.68           0.00           0.00            0.00     35,043.68           0.00 December 2021 - Receivership Fees
Total fti1715                                                                                                                                                                                              35,043.68            0.00        0.00           0.00        35,043.68           0.00


   hdsu1150                       HD Supply Facilities Mtnce, Ltd                                                                                                                                                                                                                           0.00
                                                                                    "             P-150418      30057        ill      12/1/2021     73060-50 Late Fees/Penalties/Srvc Chgs3672                 -15.19           0.00           0.00            0.00          -15.19         0.00 Credit Memo
                                                                                    "             P-150419      30057        ill      12/20/2021    73060-50 Late Fees/Penalties/Srvc Chgs
                                                                                                                                                                                       1801349557                 4.04          0.00           0.00            0.00           4.04          0.00 Late Fee
                                                                    Record Imported VALN00000002245
                                                                                               P-151649         30242        ill       4/6/2022     73015-34 Supplies Housekeeping     9201623071             554.60        554.60             0.00            0.00           0.00          0.00 Record Imported VALN00000002245
                                                                    Record Imported VALN00000002245
                                                                                               P-151653         30242        ill      4/10/2022     73015-34 Supplies Housekeeping     9201744605             -554.60       -554.60            0.00            0.00           0.00          0.00 Record Imported VALN00000002245
                                                                    Record Imported VALN00000002339
                                                                                               P-151991         30301        ill      4/21/2022     73015-34 Supplies Housekeeping     9202113601               81.89        81.89             0.00            0.00           0.00          0.00 Record Imported VALN00000002339
                                                                    Record Imported VALN00000002346
                                                                                               P-151992         30301        ill      4/21/2022     73015-40 Supplies Maintenance      9202113602             127.94        127.94             0.00            0.00           0.00          0.00 Record Imported VALN00000002346
Total hdsu1150                                                                                                                                                                                               198.68        209.83           0.00           0.00           -11.15           0.00


  home1384                        The Home Depot Pro                                                                                                                                                                                                                                        0.00
                                                                    Record Imported VALA00000000544
                                                                                               P-151989         30301        ill      4/21/2022     73015-34 Supplies Housekeeping     681297461                87.71        87.71             0.00            0.00           0.00          0.00 Record Imported VALA00000000544
                                                                    Record Imported VALA00000000549
                                                                                               P-152012         30301        ill      4/28/2022     73015-34 Supplies Housekeeping     682419080                  0.04          0.04           0.00            0.00           0.00          0.00 Record Imported VALA00000000549
                                                                    Record Imported VALN00000002310
                                                                                               P-151985         30301        ill      4/20/2022     73015-40 Supplies Maintenance      681030417                68.04        68.04             0.00            0.00           0.00          0.00 Record Imported VALN00000002310
                                                                    Record Imported VALN00000002310
                                                                                               P-151990         30301        ill      4/21/2022     73015-40 Supplies Maintenance      681297479                91.93        91.93             0.00            0.00           0.00          0.00 Record Imported VALN00000002310
                                                                    Record Imported VALN00000002348
                                                                                               P-151986         30301        ill      4/20/2022     73015-34 Supplies Housekeeping     681030425                33.37        33.37             0.00            0.00           0.00          0.00 Record Imported VALN00000002348
                                                                    Record Imported VALN00000002363
                                                                                               P-152007         30301        ill      4/26/2022     73015-34 Supplies Housekeeping     682075478              247.33        247.33             0.00            0.00           0.00          0.00 Record Imported VALN00000002363
Total home1384                                                                                                                                                                                               528.42        528.42           0.00           0.00               0.00         0.00


   sch1152                        SC&H Group, Inc                                                                                                                                                                                                                                           0.00
                                                                                                  P-152141      30320        ill      4/30/2022     86034-90 Non Operating Expenses      295017             20,000.00     20,000.00            0.00            0.00           0.00          0.00 Monthly Fee - Investment Banker for Refinancing
Total sch1152                                                                                                                                                                                              20,000.00     20,000.00          0.00           0.00               0.00         0.00


   seni1479                       Senior Care Living VI LLC                                                                                                                                                                                                                                 0.00
                                                                                                   P-85543      18898        ill      9/27/2018     13820-00 Due to/from Senior Living 09272018A
                                                                                                                                                                                       VI LLC (ILSL)        75,000.00           0.00           0.00            0.00     75,000.00           0.00 ILL to ILSL, Pay back ICO transfer funding 9/27
                                                                                                   P-85592      18921        ill      12/28/2018    13820-00 Due to/from Senior Living
                                                                                                                                                                                   12282018-Funding
                                                                                                                                                                                       VI LLC (ILSL)        50,000.00           0.00           0.00            0.00     50,000.00           0.00 12/28 Funding pay back, ILL to pay back ILSL
                                                                                                   P-92547      20355        ill      5/22/2019     13820-00 Due to/from Senior Living
                                                                                                                                                                                   ILSLVI
                                                                                                                                                                                        funding
                                                                                                                                                                                          LLC (ILSL)
                                                                                                                                                                                                return     150,000.00           0.00           0.00            0.00    150,000.00           0.00 may 19 return funding from ILSL
Total seni1479                                                                                                                                                                                            275,000.00            0.00        0.00           0.00       275,000.00           0.00


   sode1251                       Sodexo, Inc & Affiliates                                                                                                                                                                                                                                  0.00
                                                                                                  P-152403      30217        ill       3/8/2022     74002-32 Non-Labor Allocation - Sodexo
                                                                                                                                                                                       068001-ILL           -7,485.01           0.00    -7,485.01              0.00           0.00          0.00 Credit Memo Feb 2022
Total sode1251                                                                                                                                                                                             -7,485.01            0.00   -7,485.01           0.00               0.00         0.00


   sswo1141                       S&S Worldwide, Inc                                                                                                                                                                                                                                        0.00
                                                                    Record Imported VALN00000002340
                                                                                               P-151993         30301        ill      4/21/2022     73048-30 Resident Activities Activities
                                                                                                                                                                                         IN100974630
                                                                                                                                                                                            MC                  25.34        25.34             0.00            0.00           0.00          0.00 Record Imported VALN00000002340
                                                                    Record Imported VALN00000002347
                                                                                               P-151994         30301        ill      4/21/2022     73041-30 Special Events Activities MC
                                                                                                                                                                                       IN100974786            276.03        276.03             0.00            0.00           0.00          0.00 Medical Face Masks with Ear Loops (Case of 2000)
Total sswo1141                                                                                                                                                                                               301.37        301.37           0.00           0.00               0.00         0.00


   stap1384                       Staples                                                                                                                                                                                                                                                   0.00
                                                                    Record Imported VALN00000002341
                                                                                               P-151987         30301        ill      4/21/2022     73016-50 Supplies                  3505739053               84.21        84.21             0.00            0.00           0.00          0.00 Record Imported VALN00000002341
                                                                    Record Imported VALN00000002341
                                                                                               P-151988         30301        ill      4/21/2022     73016-50 Supplies                  3505739054               86.98        86.98             0.00            0.00           0.00          0.00 Record Imported VALN00000002341
                                                                    Record Imported VALN00000002364
                                                                                               P-152003         30301        ill      4/26/2022     73016-50 Supplies                  3506119430               31.79        31.79             0.00            0.00           0.00          0.00 Record Imported VALN00000002364
                                                                    Record Imported VALN00000002364
                                                                                               P-152004         30301        ill      4/26/2022     73016-50 Supplies                  3506119431                 7.99          7.99           0.00            0.00           0.00          0.00 Record Imported VALN00000002364
Total stap1384                                                                                                                                                                                               210.97        210.97           0.00           0.00               0.00         0.00


   vali1634                       Validus Senior Living REIT                                                                                                                                                                                                                                0.00
                                                                            Executive Director    P-152552      30383        ill      4/30/2022     60010-50 Executive Director Wages
                                                                                                                                                                                   04.2022CorpAlloE         10,500.00     10,500.00            0.00            0.00           0.00          0.00 04/2022 ILL Corporate Allocation 13013-00
                                                                            Executive Director    P-152552      30383        ill      4/30/2022     61005-50 Commissions Administration
                                                                                                                                                                                  04.2022CorpAlloE            450.00        450.00             0.00            0.00           0.00          0.00 04/2022 ILL Corporate Allocation 13013-00
                                                                            Executive Director    P-152552      30383        ill      4/30/2022     61051-50 FICA Tax Administration04.2022CorpAlloE          837.68        837.68             0.00            0.00           0.00          0.00 04/2022 ILL Corporate Allocation 13013-00
                                                                               Home Office        P-152020      30302        ill      4/30/2022     72020-50 Corporate Allocation - Administration
                                                                                                                                                                                    04.2022CorpAlloH         7,383.87      7,383.87            0.00            0.00           0.00          0.00 April 2022 Home Office Corporate Allocation for ill 13013-00
                                                                        Lead Acquisition April-2022 P-152471    30365        ill      4/30/2022     72021-44 Lead Acquisition        Mkting04302224             61.46        61.46             0.00            0.00           0.00          0.00 Lead acquisition - 04/2022 ILL-13811-00
                                                                      Management Fees: April 2022
                                                                                                P-152701        30402        ill       4/1/2022     74049-80 Management Fee Expense
                                                                                                                                                                                MgmtTU04-01-2210                41.65        41.65             0.00            0.00           0.00          0.00 April 2022 ILL Management Fees 13013-00
                                                                      Microsoft allocation April-2022
                                                                                                    P-152487    30365        ill      4/30/2022     73051-50 Software Support Fees Administration
                                                                                                                                                                                    Msoft04302240            1,571.38      1,571.38            0.00            0.00           0.00          0.00 Microsoft - 04/2022 ILL-13811-00
                                                                     pcard03.31.2022-Statement Date
                                                                                                P-152396        30362        ill      4/30/2022     22018-00 P-Card Payable         pcard04.30.202255         432.03        432.03             0.00            0.00           0.00          0.00 pcard03.31.2022-Statement Date-04/30/2022 ILL 22018-00
                                                                     pcard04.30.2022-Statement Date
                                                                                                P-152381        30362        ill      4/30/2022     22018-00 P-Card Payable         pcard04.30.202234        1,595.83      1,595.83            0.00            0.00           0.00          0.00 pcard04.30.2022-Statement Date-04/30/2022 ILL 22018-00
                                                                             Postage Reclass      P-152523      30372        ill      4/30/2022     73055-50 Postage & Freight Administration
                                                                                                                                                                                      Post04.22A                41.07        41.07             0.00            0.00           0.00          0.00 Postage expense - April2022 ILL 13811-00
                                                                     Print Media allocation April-2022
                                                                                                    P-152660    30393        ill      4/30/2022     72004-44 Print Media             Mkting04302256             22.39        22.39             0.00            0.00           0.00          0.00 Print Media allocation 04/2022 ILL-13811-00
                                                                            Website April-2022    P-152455      30365        ill      4/30/2022     72015-44 Website                 Mkting0430228            174.07        174.07             0.00            0.00           0.00          0.00 Wesbite - 04/2022 ILL-13811-00
Total vali1634                                                                                                                                                                                             23,111.43     23,111.43          0.00           0.00               0.00         0.00


     vslhol                       VSL Holdings LLC                                                                                                                                                                                                                                          0.00
                                                                                                  P-151916      30290        ill      4/26/2022     72004-44 Print Media             dooh1233-4386A             43.67        43.67             0.00            0.00           0.00          0.00 ILL Welcome Home & Come Soon Posters 13811-00
                                                                                                  P-151928      30296        ill      4/27/2022     73048-30 Resident Activities Activities
                                                                                                                                                                                   illu1214-D317397-INA
                                                                                                                                                                                            MC                125.43        125.43             0.00            0.00           0.00          0.00 ILL AL Illustratus Subscription 13811-00
                                                                                                  P-151928      30296        ill      4/27/2022     73048-30 Resident Activities Activities
                                                                                                                                                                                   illu1214-D317397-INA
                                                                                                                                                                                            MC                125.43        125.43             0.00            0.00           0.00          0.00 ILL MC Illustratus Subscription 13811-00



                                                                                                                                                                                Page 1 of 2
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                                                                                                                                                                                                                                                                                                                5/19/2022 10:55 AM


                                                                                                            Payables Aging Report
                                                                                                                              ill
                                                                                                                       Period: 04/2022
                                                                                                                      As of : 04/30/2022
    Payee      Remittance Vendor Payee Name        Invoice         Control    Batch Id   Property   Invoice Date              Account               Invoice #         Current       0-30          31-60           61-90           Over          Future      Notes
     Code                                           Notes                                                                                                              Owed         Owed          Owed            Owed             90           Invoice
                                                                                                                                                                                                                                  Owed
                                                                   P-151936    30298        ill      4/29/2022     14022-00 Prepaid Other     nicm1193-MINV6631A         2,745.20     2,745.20            0.00            0.00           0.00         0.00 ILL VisionLTC & NIC Map Data Service Annual Installment 13820-00
                                                                   P-152279    30333        ill      4/25/2022     73090-50 Telephone - Cell Administration
                                                                                                                                               veri0001-9905052889A        48.83        48.83             0.00            0.00           0.00         0.00 ILL Wireless Charges 04/26/22-04/25/22 13811-00
                                                      "            P-116637    24411        ill      11/18/2020    73051-50 Software Support Fees
                                                                                                                                                11182020-EngieFeeA
                                                                                                                                                  Administration          244.60           0.00           0.00            0.00       244.60           0.00 Engie November Software Fee
                                                      "            P-152537    30378        ill      4/12/2022     73051-50 Software Support Fees
                                                                                                                                                04122022-EngieFeeA
                                                                                                                                                  Administration          107.81       107.81             0.00            0.00           0.00         0.00 April 2022 Engie Monthly Fee 13811-00
                                              ATNT Credit Memo-1   P-152103    30306        ill      3/31/2022     73090-50 Telephone - Cell Administration
                                                                                                                                                ATNT Credit Memo-1        -180.69          0.00     -180.69               0.00           0.00         0.00 ATNT Credit Memo to pay back VSHOL
                                                WC39162122C        P-152144    30321        ill      4/30/2022     64009-50 Worker's Compensation WC39162122C            1,844.18     1,844.18            0.00            0.00           0.00         0.00 Premium E499477-04/30/2022 ILL 13811-00
                                                WC39162122C        P-152152    30324        ill      4/30/2022     64009-50 Worker's Compensation
                                                                                                                                               WC39162122C Credit       -2,664.97    -2,664.97            0.00            0.00           0.00         0.00 Credit from 2021 policy Premium E499477-04/30/2022 ILL 13811-00
                                                WC39162122C        P-152156    30325        ill      4/30/2022     64009-50 Worker's Compensation WC39162122C            1,908.39     1,908.39            0.00            0.00           0.00         0.00 Loss run E499477-04/30/2022 ILL 13811-00
                                              Wex1197-80657053A    P-152824    30418        ill      4/30/2022     73036-42 Auto Exp - Other Transportation
                                                                                                                                                Wex1197-80657053A          33.35        33.35             0.00            0.00           0.00         0.00 Wex1197-80657053-04/30/2022-Adjustments/Finance Charge ILL 13811-00
Total vslhol                                                                                                                                                            4,381.23     4,317.32      -180.69            0.00          244.60           0.00


Grand Total                                                                                                                                                           351,290.77    48,679.34     -7,665.70           0.00       310,277.13          0.00




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                                       Senior Care Living VII, LLC                                                  5/9/2022


                                       Bank Reconciliation Report
                                                  4/30/2022
                                                  7980680826

                                        Posted by: vslaa3 on 5/9/2022



Balance Per Bank Statement as of 4/30/2022                                                            626,705.15
Outstanding Checks

Check Date              Check Number      Payee                                                           Amount
2/18/2022                    3843         blue1092 - Bluestone Pools, LLC                                 541.25
2/18/2022                    3847         secu1080 - Secure Personal Care LLC                            4,318.88
2/18/2022                    3851         uhc1336 - United Healthcare Insurance Co.                     10,028.47
2/18/2022                    3852         welc1305 - Welcome Home Software, Inc                           425.00
2/25/2022                    3854         airg1857 - Airgas USA, LLC                                       30.64
2/25/2022                    3862         home1384 - The Home Depot Pro                                   469.30
2/25/2022                    3863         mcke4786 - McKesson Medical - Surgical                         1,733.41
2/25/2022                    3865         ster1197 - Stericycle, Inc.                                     189.22
4/8/2022                     3948         90020697 - Knox                                                4,764.97
4/8/2022                     3954         hdsu1150 - HD Supply Facilities Mtnce, Ltd                       84.22
4/21/2022                    3969         airg1857 - Airgas USA, LLC                                       32.23
4/21/2022                    3970         aqua1057 - Aquarium Environments, Inc. dba Fish                 388.62
                                          Gallery
4/21/2022                    3971         arro1050 - Arrow Exterminators Inc.                             108.26
4/21/2022                    3972         blue1092 - Bluestone Pools, LLC                                1,037.52
4/21/2022                    3973         comm1775 - Commercial Safety Systems, LLC                      1,167.37
4/21/2022                    3974         ecol1087 - Ecolab Inc.                                         1,109.63
4/21/2022                    3975         edel1093 - Frank P. Edelmann                                    100.00
4/21/2022                    3976         gree1459 - Green Pride Landscaping                             4,221.75
4/21/2022                    3977         liqu1373 - Liquid Environmental Solutions of Texas, LLC         399.63
4/21/2022                    3978         magn1019 - Magnolia Fisheries                                   352.52
4/21/2022                    3979         mcke4786 - McKesson Medical - Surgical                             8.93
4/21/2022                    3980         occu1001 - Occupational Health Centers of the                   490.00
                                          Southwest, P.A.
4/21/2022                    3981         powe1701 - PowerSecure, Inc                                    1,230.59
4/21/2022                    3982         seni1001 - Senior Living Specialists, LLC                      7,000.00
4/21/2022                    3983         song1051 - Songs & Smiles                                       250.00
4/21/2022                    3984         uhc1336 - United Healthcare Insurance Co.                     17,070.47
4/29/2022                    3987         emp-5629 - Veronicah Kimolya                                    919.24
4/29/2022                    3988         apla1267 - A Place For Mom, Inc.                               7,000.00
4/29/2022                    3989         aqua1057 - Aquarium Environments, Inc. dba Fish                 162.36
                                          Gallery
4/29/2022                    3990         arro1050 - Arrow Exterminators Inc.                             324.75
4/29/2022                    3991         care1374 - CareNow                                             1,085.00
4/29/2022                    3992         cawl1221 - The Cawley Company                                    67.78
4/29/2022                    3993         clar1602 - Clark Food Service Equipment                         727.32
4/29/2022                    3994         comm1775 - Commercial Safety Systems, LLC                      1,167.37
4/29/2022                    3995         ecol1087 - Ecolab Inc.                                          103.25
4/29/2022                    3996         fron1765 - Frontier Lighting, Inc.                              109.03
4/29/2022                    3997         fun1463 - Fun Express, LLC                                       16.58
4/29/2022                    3998         home1384 - The Home Depot Pro                                  1,934.90
4/29/2022                    3999         jagu1396 - Jaguar Fueling Services LLC                         2,239.03
4/29/2022                    4000         mcke4786 - McKesson Medical - Surgical                         2,018.86
4/29/2022                    4001         mood1272 - Muzak LLC                                             91.01
4/29/2022                    4002         occu1001 - Occupational Health Centers of the                   770.00
                                          Southwest, P.A.
4/29/2022                    4003         ourp1911 - Our Place - Tuxedos & Uniforms                      1,123.81
4/29/2022                    4004         powe1701 - PowerSecure, Inc                                    1,022.96
4/29/2022                    4005         secu1080 - Secure Personal Care LLC                            5,880.43
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                                       Senior Care Living VII, LLC                                                            5/9/2022


                                       Bank Reconciliation Report
                                                  4/30/2022
                                                  7980680826

                                        Posted by: vslaa3 on 5/9/2022
Outstanding Checks

Check Date              Check Number      Payee                                                          Amount
4/29/2022                    4006         sher7378 - The Sherwin Williams Co.                           1,637.89
4/29/2022                    4007         soft1928 - Softrim LLC                                          883.32
4/29/2022                    4008         sswo1141 - S&S Worldwide, Inc                                   129.41
4/29/2022                    4009         stap1384 - Staples                                              123.34
4/29/2022                    4010         thys1132 - TK Elevator Company                                  737.91
4/29/2022                    4011         trin1824 - Bus Finders Inc                                      250.00
4/29/2022                    4012         vali1634 - Validus Senior Living REIT                               43.47
4/29/2022                    4013         vslhol - VSL Holdings LLC                                           97.03
4/29/2022                    4014         will1028 - Lori Williams - Senior Services, LLC               2,500.00
Less:              Outstanding Checks                                                                 90,718.93



Other Items

Date                                      Notes                                                          Amount
3/25/2022                                 Payroll JE 2 HSA                                                -77.60
4/11/2022                                 Payroll JE 2 HSA                                                -77.60
Plus/Minus:        Other Items                                                                          -155.20
                   Reconciled Bank Balance                                                           535,831.02



Balance per GL as of 4/30/2022                                                                       535,831.02
                   Reconciled Balance Per G/L                                                        535,831.02



Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                   0.00




Cleared Items:


Cleared Checks

Date               Tran #                 Notes                                             Amount            Date Cleared
2/18/2022                    3842         best1077 - Best Celebrity Talent                           127.50            4/6/2022
3/11/2022                    3883         90007368 - Reeder                                      6,395.00             4/19/2022
3/25/2022                    3914         aqua1057 - Aquarium Environments, Inc. dba Fish            388.62            4/1/2022
                                          Gallery
3/25/2022                    3915         blue1092 - Bluestone Pools, LLC                            423.15            4/5/2022
3/25/2022                    3916         care1374 - CareNow                                         608.00            4/4/2022
3/25/2022                    3917         ecol1087 - Ecolab Inc.                                     103.25            4/1/2022
3/25/2022                    3918         flow1028 - Flower Mound Chamber of Commerce                325.00            4/8/2022
3/25/2022                    3919         gree1459 - Green Pride Landscaping                     4,221.75              4/4/2022
3/25/2022                    3920         guar1601 - Guardian Pharmacy of Texas                       68.04            4/1/2022
3/25/2022                    3921         hdsu1150 - HD Supply Facilities Mtnce, Ltd                 270.94            4/8/2022
3/25/2022                    3922         home1384 - The Home Depot Pro                          3,385.45              4/1/2022
3/25/2022                    3923         ourp1911 - Our Place - Tuxedos & Uniforms              1,014.54              4/6/2022
3/25/2022                    3924         seni1001 - Senior Living Specialists, LLC              3,500.00              4/4/2022
3/25/2022                    3925         sher7378 - The Sherwin Williams Co.                        709.27            4/4/2022
3/25/2022                    3926         sher8669 - The Sherwin Williams Co.                        578.15           4/26/2022
3/25/2022                    3927         silv1114 - Silversphere, LLC                           2,864.26              4/5/2022
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                                      Senior Care Living VII, LLC                                                                 5/9/2022


                                      Bank Reconciliation Report
                                                 4/30/2022
                                                 7980680826

                                       Posted by: vslaa3 on 5/9/2022
Cleared Checks

Date              Tran #                 Notes                                                  Amount             Date Cleared
3/25/2022                    3928        stap1384 - Staples                                              609.31          4/4/2022
3/25/2022                    3929        thys1132 - TK Elevator Company                                  737.91          4/5/2022
3/25/2022                    3930        uhc1336 - United Healthcare Insurance Co.                  16,388.46            4/5/2022
3/25/2022                    3931        usfo3202 - US Foods, Inc.                                        79.58          4/1/2022
3/25/2022                    3934        will1028 - Lori Williams - Senior Services, LLC             2,500.00            4/4/2022
4/1/2022                     3935        bear1126 - Bearcat Leasing Corporation                          270.04         4/12/2022
4/1/2022                     3936        cawl1221 - The Cawley Company                                    17.59         4/11/2022
4/1/2022                     3937        ecol1087 - Ecolab Inc.                                      1,984.44           4/11/2022
4/1/2022                     3938        home1384 - The Home Depot Pro                                   460.47         4/11/2022
4/1/2022                     3939        mood1272 - Muzak LLC                                             91.01         4/12/2022
4/1/2022                     3940        powe1701 - PowerSecure, Inc                                     270.63         4/12/2022
4/1/2022                     3941        sch1152 - SC&H Group, Inc                                  20,000.00           4/11/2022
4/1/2022                     3943        vali1634 - Validus Senior Living REIT                      39,120.24            4/1/2022
4/1/2022                     3944        vslhol - VSL Holdings LLC                                  42,183.22            4/1/2022
4/4/2022                     3945        arro1050 - Arrow Exterminators Inc.                             324.75         4/11/2022
4/8/2022                     3946        90019075 - Campbell                                         4,477.03           4/18/2022
4/8/2022                     3947        90019274 - Leopard                                              193.91         4/15/2022
4/8/2022                     3949        arro1050 - Arrow Exterminators Inc.                             324.75         4/18/2022
4/8/2022                     3950        vali1634 - Validus Senior Living REIT                      17,881.62           4/12/2022
4/8/2022                     3951        vslhol - VSL Holdings LLC                                  17,996.75           4/14/2022
4/8/2022                     3952        welc1305 - Welcome Home Software, Inc                           425.00         4/19/2022
4/8/2022                     3953        sode1251 - Sodexo, Inc & Affiliates                       103,350.76           4/15/2022
4/8/2022                     3955        home1384 - The Home Depot Pro                                   168.79         4/18/2022
4/8/2022                     3956        mcke4786 - McKesson Medical - Surgical                      1,968.57           4/15/2022
4/8/2022                     3957        stap1384 - Staples                                              431.01         4/15/2022
4/15/2022                    3958        accu1339 - Accushield, LLC                                      126.86         4/25/2022
4/15/2022                    3959        apla1267 - A Place For Mom, Inc.                            7,000.00           4/22/2022
4/15/2022                    3960        commu1634 - Community Payroll, LLC                          2,456.51           4/20/2022
4/15/2022                    3961        guar1601 - Guardian Pharmacy of Texas                            24.09         4/22/2022
4/15/2022                    3962        koni1312 - Konica Minolta Business Solutions USA Inc            414.63         4/26/2022
4/15/2022                    3963        ourp1911 - Our Place - Tuxedos & Uniforms                   2,226.26           4/27/2022
4/15/2022                    3964        poin1267 - PointClickCare Technologies Inc.                 1,271.52           4/22/2022
4/15/2022                    3965        silv1114 - Silversphere, LLC                                1,537.62           4/22/2022
4/15/2022                    3966        ster1197 - Stericycle, Inc.                                     189.22         4/25/2022
4/15/2022                    3967        vslhol - VSL Holdings LLC                                  38,217.37           4/20/2022
4/15/2022                    3968        john1602 - Johnson Pope Trust Account                      50,000.00           4/22/2022
4/21/2022                    3985        vali1634 - Validus Senior Living REIT                       1,899.79           4/27/2022
4/21/2022                    3986        vslhol - VSL Holdings LLC                                   5,925.05           4/27/2022
Total Cleared Checks                                                                              408,527.68
Cleared Other Items

Date              Tran #                 Notes                                                  Amount             Date Cleared
4/7/2022                   JE 61886      Payroll JE 2                                               -70,465.33           4/7/2022
4/7/2022                   JE 61887      Payroll JE 2                                               -15,208.50           4/7/2022
4/7/2022                   JE 61888      Payroll JE 2 Garn                                               -504.45         4/7/2022
4/7/2022                   JE 61891      Payroll JE 2 Fee                                            -2,063.59           4/7/2022
4/11/2022                  JE 61889      Payroll JE 2 401K                                               -804.21        4/11/2022
4/12/2022                  JE 62021                                                                      -187.50        4/12/2022
4/13/2022                  JE 61939                                                                500,000.00           4/13/2022
4/20/2022                  JE 62035      Payroll JE 2                                               -73,516.09          4/20/2022
4/20/2022                  JE 62036      Payroll JE 2                                               -16,610.44          4/20/2022
            Case 8:22-bk-00103-CED                     Doc 127-1      Filed 05/19/22   Page 16 of 23


                                          Senior Care Living VII, LLC                                                5/9/2022


                                          Bank Reconciliation Report
                                                     4/30/2022
                                                     7980680826

                                           Posted by: vslaa3 on 5/9/2022
Cleared Other Items

Date                  Tran #                 Notes                                 Amount             Date Cleared
4/20/2022                      JE 62037      Payroll JE 2 Garn                              -129.70        4/20/2022
4/20/2022                      JE 62038      Payroll JE 2 Fee                            -1,666.58         4/20/2022
4/25/2022                      JE 62199                                                     -780.68        4/25/2022
4/29/2022                      JE 62198                                                 100,000.00         4/29/2022
4/29/2022                      JE 62440                                                  -1,289.17         4/29/2022
4/29/2022                      JE 62441                                                     -281.51        4/29/2022
Total Cleared Other Items                                                              416,492.25
FTCSTMT042 042 20220430 UDSPDFSTMT 0000000007980680826 DDA
                        Case 8:22-bk-00103-CED                              Doc 127-1             Filed 05/19/22        Statement
                                                                                                                          Page Period
                                                                                                                                  17 ofDate:
                                                                                                                                          23 4/1/2022 - 4/30/2022
                                                                                                                                  Account Type: 5/3 BUS ELITE CKG
                                                                                                                                     Account Number:         0826
                    (TAMPA BAY)
                    P.O. BOX 630900 CINCINNATI OH 45263-0900
                                                                                                                                        Banking Center: Missouri Ave.
                    SENIOR CARE LIVING VII LLC                                                                                   Banking Center Phone: 727-584-4882
                                                                                         0
                    3665 E BAY DR STE 204429
                                                                                                                              Business Banking Support: 877-534-2264
                    LARGO FL 33771-1990
                                                                                       8670




                                                     Account Summary -                                      0826
   04/01      Beginning Balance                                        $618,740.58                   Number of Days in Period                                  30
      54      Checks                                                   $(408,527.68)
       7      Withdrawals / Debits                                     $(183,507.75)
       2      Deposits / Credits                                         $600,000.00
   04/30      Ending Balance                                           $626,705.15


Analysis Period: 03/01/22 - 03/31/22

  Standard Monthly Service Charge                                                                           $35.00
  Standard Monthly Service Charge Waived (see below)                                                      -$35.00
  ELECTRONIC     DEPOSIT 4                                                                                  $31.50
  STOP PAYMENT                                                                                              $66.00
  WIRE 7                                                                                                    $90.00

Service Charge withdrawn on 04/12/22                                                                      $187.50

4Charges for Electronic Deposit Manager (EDM) include the EDM Monthly Service Fee.
7Charges for incoming and outgoing wires, as well as other wire activity.




Standard Monthly Service Charge waived if:                                               Current Relationship Overview:

Your business maintains a total monthly average                                          Balance Criteria Met?                                                 Yes
balance of $25,000 across its business checking, savings,                                     Total Combined Monthly Average Balance                    $626,739.10
and certificate of deposit accounts.


OR your business has a business loan or line of credit.                                  Business Loan or Line of Credit?                                       No

OR your business spends at least $500 per month on                                       Other Criteria Met?                                                    No
its business credit card PLUS has one of the following:                                       $500 Business Credit Card Spend?                                   No
Electronic Deposit Manager OR Cash Management                                                 Electronic Deposit Manager?                                       Yes
Essentials.                                                                                   Cash Management Essentials?                                        No


Checks                                                                                                                             54 checks totaling $408,527.68
* Indicates gap in check sequence    i = Electronic Image      s = Substitute Check

Number           Date Paid                 Amount           Number            Date Paid                Amount        Number        Date Paid            Amount
1947 i             04/15                     193.91         3921   i            04/08                    270.94      3931 i            04/01                79.58
3842*i             04/06                     127.50         3922   i            04/01                  3,385.45      3934*i            04/04             2,500.00
3883*i             04/19                   6,395.00         3923   i            04/06                  1,014.54      3935 i            04/12               270.04
3914*i             04/01                     388.62         3924   i            04/04                  3,500.00      3936 i            04/11                17.59
3915 i             04/05                     423.15         3925   i            04/04                    709.27      3937 i            04/11             1,984.44
3916 i             04/04                     608.00         3926   i            04/26                    578.15      3938 i            04/11               460.47
3917 i             04/01                     103.25         3927   i            04/05                  2,864.26      3939 i            04/12                91.01
3918 i             04/08                     325.00         3928   i            04/04                    609.31      3940 i            04/12               270.63
3919 i             04/04                   4,221.75         3929   i            04/05                    737.91      3941 i            04/11            20,000.00
3920 i             04/01                      68.04         3930   i            04/05                 16,388.46      3943*i            04/01            39,120.24



                                    For additional information and account disclosures, please visit www.53.com/businessbanking                         Page 1 of 2
PSKEY01|DDA0|01|FTTF|20220430|8|0|S|1|8670|8670|7980680826|0|25171||PSKEY99|
FTCSTMT042 042 20220430 UDSPDFSTMT 0000000007980680826 DDA
                        Case 8:22-bk-00103-CED                          Doc 127-1     Filed 05/19/22        Page 18 of 23



Checks      - continued
* Indicates gap in check sequence   i = Electronic Image     s = Substitute Check

Number           Date Paid                Amount           Number         Date Paid      Amount     Number       Date Paid         Amount
3944 i             04/01                42,183.22          3955*i           04/18          168.79   3963 i         04/27            2,226.26
3945 i             04/11                   324.75          3956 i           04/15        1,968.57   3964 i         04/22            1,271.52
3946 i             04/18                 4,477.03          3957 i           04/15          431.01   3965 i         04/22            1,537.62
3949*i             04/18                   324.75          3958 i           04/25          126.86   3966 i         04/25              189.22
3950 i             04/12                17,881.62          3959 i           04/22        7,000.00   3967 i         04/20           38,217.37
3951 i             04/14                17,996.75          3960 i           04/20        2,456.51   3968 i         04/22           50,000.00
3952 i             04/19                   425.00          3961 i           04/22           24.09   3985*i         04/27            1,899.79
3953 i             04/15               103,350.76          3962 i           04/26          414.63   3986 i         04/27            5,925.05


Withdrawals / Debits                                                                                               7 items totaling $183,507.75
Date                            Amount             Description
04/07                          88,241.87           OUTGOING WIRE TRANS 040722
04/11                             804.21           PRINCIPAL LIFE P PLIC-PERIS 5-3626200001674 SENIOR CARE VII LLC 041122
04/12                             187.50           SERVICE CHARGE
04/20                          91,922.81           OUTGOING WIRE TRANS 042022
04/25                             780.68           PRINCIPAL LIFE P PLIC-PERIS 5-3626200003699 SENIOR CARE VII LLC 042522
04/29                             281.51           WEB INITIATED PAYMENT AT Credit One Bank Payment 54221572 042922
04/29                           1,289.17           WEB INITIATED PAYMENT AT PL*ConAmProperty WEB PMTS NW34T3 042922


Deposits / Credits                                                                                                2 items totaling $600,000.00
Date                           Amount               Description
04/13                        500,000.00             DEPOSIT
04/29                        100,000.00             DEPOSIT


Daily Balance Summary
Date                                     Amount            Date                            Amount Date                              Amount

04/01                                  533,412.18          04/12                       368,577.96   04/20                         600,249.70
04/04                                  521,263.85          04/13                       868,577.96   04/22                         540,416.47
04/05                                  500,850.07          04/14                       850,581.21   04/25                         539,319.71
04/06                                  499,708.03          04/15                       744,636.96   04/26                         538,326.93
04/07                                  411,466.16          04/18                       739,666.39   04/27                         528,275.83
04/08                                  410,870.22          04/19                       732,846.39   04/29                         626,705.15
04/11                                  387,278.76



  IF YOU USE TREASURY MANAGEMENT SERVICES, PLEASE NOTE THAT WE HAVE UPDATED OUR TERMS AND CONDITIONS. GO TO 53.COM/TM-TC TO
  VIEW.




                                                                                                                                   Page 2 of 2
PSKEY01|DDA0|01|FTTF|20220430|8|0|S|1|8670|8670|7980680826|0|25172||PSKEY99|
               Case 8:22-bk-00103-CED                  Doc 127-1            Filed 05/19/22   Page 19 of 23


                                         Senior Care Living VII, LLC                                                      5/9/2022


                                         Bank Reconciliation Report
                                                     4/30/2022
                                                    0000244585604

                                          Posted by: vslaa3 on 5/9/2022



Balance Per Bank Statement as of 4/30/2022                                                         61,584.11



Outstanding Deposits

Deposit Date            Deposit Number                                                                Amount
4/29/2022                        988                                                                15,563.00
4/30/2022                        990                                                                10,290.00
Plus:             Outstanding Deposits                                                             25,853.00
Outstanding Checks

Check Date              Check Number        Payee                                                     Amount
1/23/2020                     2452          90008691 - Ketterer                                      1,358.55
5/15/2020                     2641          90009534 - Beaverstock Jr.                                 795.36
5/17/2021                     3302          90009915 - Tanel                                           793.68
1/20/2022                     3747          90010695 - Breuel                                        3,174.21
1/20/2022                     3748          90010854 - Wilson                                        1,495.56
Less:              Outstanding Checks                                                               7,617.36
                   Reconciled Bank Balance                                                         79,819.75



Balance per GL as of 4/30/2022                                                                     79,819.75
                   Reconciled Balance Per G/L                                                      79,819.75


Difference         (Reconciled Bank Balance And Reconciled Balance Per G/L)                                0.00




Cleared Items:


Cleared Checks

Date               Tran #                   Notes                                        Amount            Date Cleared
4/13/2022                    3838           seni5028 - Senior Care Living VII, LLC            500,000.00          4/13/2022
4/29/2022                    3839           seni5028 - Senior Care Living VII, LLC            100,000.00          4/29/2022
Total Cleared Checks                                                                         600,000.00
Cleared Deposits

Date               Tran #                   Notes                                        Amount            Date Cleared
3/31/2022                        962        :ACH Deposit                                       22,824.00           4/1/2022
4/1/2022                         965        :CC Deposit                                           294.79           4/7/2022
4/1/2022                         966        :CC Deposit                                         5,495.00           4/7/2022
4/1/2022                         964        :ACH Deposit                                      236,825.78           4/4/2022
4/3/2022                         972        :ACH Deposit                                       91,547.84           4/4/2022
4/4/2022                         574        :CHECKscan Deposit                                 10,572.47           4/5/2022
4/4/2022                         975        :ACH Deposit                                      142,478.78           4/5/2022
4/5/2022                         978        :ACH Deposit                                        2,194.00           4/7/2022
4/5/2022                         977        :ACH Deposit                                       10,426.00           4/6/2022
4/7/2022                         575        :CHECKscan Deposit                                    225.00           4/8/2022
4/8/2022                         979        :ACH Deposit                                       12,090.00          4/11/2022
            Case 8:22-bk-00103-CED                   Doc 127-1      Filed 05/19/22   Page 20 of 23


                                        Senior Care Living VII, LLC                                                5/9/2022


                                        Bank Reconciliation Report
                                                   4/30/2022
                                                 0000244585604

                                         Posted by: vslaa3 on 5/9/2022
Cleared Deposits

Date               Tran #                  Notes                                 Amount             Date Cleared
4/11/2022                       576        :CHECKscan Deposit                           4,000.00         4/12/2022
4/12/2022                       577        :CHECKscan Deposit                           1,000.00         4/14/2022
4/12/2022                       980        :ACH Deposit                                 6,905.00         4/13/2022
4/13/2022                       981        :ACH Deposit                                 1,230.00         4/14/2022
4/13/2022                       982        :ACH Deposit                                 2,750.00         4/15/2022
4/19/2022                       578        :CHECKscan Deposit                           2,000.00         4/20/2022
4/25/2022                       983        :ACH Deposit                                15,679.00         4/26/2022
4/27/2022                       985        :ACH Deposit                                16,489.00         4/28/2022
4/27/2022                       580        :CHECKscan Deposit                          15,214.74         4/28/2022
4/28/2022                       986        :ACH Deposit                                 8,495.00         4/29/2022
Total Cleared Deposits                                                               608,736.40
Cleared Other Items

Date               Tran #                  Notes                                 Amount             Date Cleared
4/7/2022                    RC 164610      Returned item 00007781                      -4,757.00          4/7/2022
4/8/2022                    JE 61991       Payroll JE 2                               -12,323.14          4/8/2022
4/8/2022                    JE 61992       Payroll JE 2                               -12,323.14          4/8/2022
4/8/2022                    JE 61993       Payroll JE 2                               -11,492.37          4/8/2022
4/8/2022                    JE 61994       Payroll JE 2                               -10,246.19          4/8/2022
4/8/2022                    JE 61995       Payroll JE 2                                -9,830.82          4/8/2022
4/8/2022                    JE 61996       Payroll JE 2                                10,269.26          4/8/2022
4/8/2022                    JE 61997       Payroll JE 2                                10,269.26          4/8/2022
4/8/2022                    JE 61998       Payroll JE 2                                 9,576.95          4/8/2022
4/8/2022                    JE 61999       Payroll JE 2                                 8,538.48          4/8/2022
4/8/2022                    JE 62000       Payroll JE 2                                 8,192.33          4/8/2022
4/12/2022                   JE 61990                                                    5,746.27         4/12/2022
4/22/2022                   JE 62065                                                      -840.00        4/22/2022
4/26/2022                   JE 62063                                                   -9,138.49         4/26/2022
4/26/2022                   JE 62064                                                    7,615.39         4/26/2022
4/27/2022                   JE 62196                                                      919.24         4/27/2022
4/27/2022                   JE 62197                                                      490.00         4/29/2022
Total Cleared Other Items                                                             -9,333.97
                             Case 8:22-bk-00103-CED                    Doc 127-1       Filed 05/19/22          Page 21 of 23




                  999-99-99-99 20178 2 C 001 30 S   66 002
                  SENIOR CARE L I V I N G V I I LLC
                  OPERATING ACCT
                  4 3 0 1 ANCHOR PLAZA PKWY STE 4 0 0
                  TAMPA FL     33634-7529




   Your account statement                                                                      Contact us
                                                                                                                                     (844) 4TRUIST or
   For 04/29/2022                                                                                      Truist.com                    (844) 487-8478




     BUSINESS VALUE 500 CHECKING 0                                 5604
   Account summary
   Your previous balance as of 03/31/2022                         $62,181.68
   Checks                                                      - 600,000.00
   Other withdrawals, debits and service charges                  - 70,951.15
   Deposits, credits and interest                              + 670,353.58
   Your new balance as of 04/29/2022                           = $61,584.11

   Checks
   DATE            CHECK #                                       AMO UNT($ )
   04/13            3838                                         500,000.00
   04/29          * 38339                                        100,000.00
   Total checks                                              = $ 600,000.00     * indicates a skip in sequential check numbers above this item


   Other withdrawals, debits and service charges
   DATE      DESCR IPTIO N                                                                                                                       AM OUN T($ )
   04/07     ACH CORP DEBIT Return VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014287333717                                            4,757.00
   04/08     ACH CORP DEBIT Premium Elysian Healthca Validus Senior Care L CUSTOMER ID                                                          9,830.82
   04/08     ACH CORP DEBIT Premium Elysian Healthca Validus Senior Care L CUSTOMER ID                                                         10,246.19
   04/08     ACH CORP DEBIT Premium Elysian Healthca Validus Senior Care L CUSTOMER ID                                                         11,492.37
   04/08     ACH CORP DEBIT Premium Elysian Healthca Validus Senior Care L CUSTOMER ID                                                         12,323.14
   04/08     ACH CORP DEBIT Premium Elysian Healthca Validus Senior Care L CUSTOMER ID                                                         12,323.14
   04/22     ACH CORP DEBIT ValLewMar MEDELLA BENEFITS Senior Care Living VII CUSTOMER ID 2018442                                                 840.00
   04/26     ACH CORP DEBIT Premium Elysian Healthca Validus Senior Care L CUSTOMER ID                                                          9,138.49
   Total other withdrawals, debits and service charges                                                                                      = $70,951.15

   Deposits, credits and interest
   DATE      DESCR IPTIO N                                                                                                                       AM OUN T($ )
   04/01     Settlement VALIDUS-ILL-OP Yardi Process Master 1           CUSTOMER ID 000014201769885                                               22,824.00
   04/04     Settlement VALIDUS-ILL-OP Yardi Process Master 1           CUSTOMER ID 000014244500313                                               91,547.84
   04/04     Settlement VALIDUS-ILL-OP Yardi Process Master 1           CUSTOMER ID 000014223835801                                              236,825.78
   04/05     Settlement VALIDUS-ILL-OP Yardi Process Master 1           CUSTOMER ID 000014260976133                                               10,572.47
   04/05     Settlement VALIDUS-ILL-OP Yardi Process Master 1           CUSTOMER ID 000014260792925                                              142,478.78
   04/06     Settlement VALIDUS-ILL-OP Yardi Process Master 1           CUSTOMER ID 000014276775137                                               10,426.00
   04/07     ILL-OPTran YARDI CARD DEP ILL-OP-Validus Senior            CUSTOMER ID 50311558                                                         294.79
   04/07     Settlement VALIDUS-ILL-OP Yardi Process Master 1           CUSTOMER ID 000014289757045                                                2,194.00
   04/07     ILL-OPTran YARDI CARD DEP ILL-OP-Validus Senior            CUSTOMER ID 50264630                                                       5,495.00
   04/08     Settlement VALIDUS-ILL-OP Yardi Process Master 1           CUSTOMER ID 000014300394437                                                  225.00
                                                                                                                                                  continued


0032394
 BUSINESS VALUECase
                500 CHECKING
                     8:22-bk-00103-CED5604 (continued)
                                         Doc  127-1 Filed 05/19/22                      Page 22 of 23
DATE    DESCR IPTIO N                                                                                       AM OUN T($ )
04/08    Claim Elysian Healthca Validus Senior Care L CUSTOMER ID                                             8,192.33
04/08    Claim Elysian Healthca Validus Senior Care L CUSTOMER ID                                             8,538.48
04/08    Claim Elysian Healthca Validus Senior Care L CUSTOMER ID                                             9,576.95
04/08    Claim Elysian Healthca Validus Senior Care L CUSTOMER ID                                           10,269.26
04/08    Claim Elysian Healthca Validus Senior Care L CUSTOMER ID                                           10,269.26
04/11    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014320385477                       12,090.00
04/12    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014328628113                         4,000.00
04/12    REMOTE DEPOSIT                                                                                       5,746.27
04/13    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014338865677                         6,905.00
04/14    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014347486601                         1,000.00
04/14    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014347381149                         1,230.00
04/15    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014355294073                         2,750.00
04/20    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014389709581                         2,000.00
04/26    Claim Elysian Healthca Validus Senior Care L CUSTOMER ID                                              7,615.39
04/26    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014429672957                        15,679.00
04/27    PAYMENTS PAYCOM PAYROLL L SENIOR CARE LIVING VII CUSTOMER ID 1743980                                    919.24
04/28    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014447995285                        15,214.74
04/28    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014447917041                       16,489.00
04/29    REMOTE DEPOSIT                                                                                         490.00
04/29    Settlement VALIDUS-ILL-OP Yardi Process Master 1 CUSTOMER ID 000014456838045                         8,495.00
Total deposits, credits and interest                                                                    = $670,353.58
                               Case 8:22-bk-00103-CED                          Doc 127-1           Filed 05/19/22               Page 23 of 23




   Questions, comments or errors?
   For general questions/comments or to report errors about your statement or                have stopped someone from making electronic transfers without your permission if
   account, please call us at 1-844-4TRUIST (1-844-487-8478) 24 hours a day, 7 days          you had told us, you could lose as much as $500. Also, if your periodic statement
   a week. Truist Contact Center teammates are available to assist you from 8am              shows transfers you did not make, tell us at once. If you do not tell us within sixty (60)
   8pm EST Monday-Friday and 8am 5pm EST on Saturday. You may also contact                   days after the statement was mailed to you, you may not get back any money you lost
   your local Truist branch. To locate a Truist branch in your area, please visit            after sixty (60) days if we can prove we could have stopped someone from taking the
   Truist.com.                                                                               money if you had told us in time.

   Electronic fund transfers (For Consumer Accounts Only. Commercial Accounts                Important information about your Truist Ready Now Credit Line Account
   refer to the Commercial Bank Services Agreement.)                                         Once advances are made from your Truist Ready Now Credit Line Account, an
   Services such as Bill Payments and Zelle® are subject to the terms and conditions         INTEREST CHARGE will automatically be imposed on the account's outstanding
   governing those services, which may not provide an error resolution process in all        “Average daily balance.” The INTEREST CHARGE is calculated by applying the “Daily
   cases. Please refer to the terms and conditions for those services.                       periodic rate” to the ‘Average daily balance” of your account (including current
                                                                                             transactions) and multiplying this figure by the number of days in the billing cycle. To
   In case of errors or questions about your electronic fund transfers, if you think your    get the “Average daily balance,” we take the beginning account balance each day, add
   statement or receipt is wrong or if you need more information about a transfer on         any new advances or debits, and subtract any payments or credits and the last unpaid
   the statement or receipt, IMMEDIATELY call 1-844-487-8478 or write to:                    INTEREST CHARGE. This gives us the daily balance. Then we add all of the daily
                               Fraud Management                                              balances for the billing cycle and divide the total by the number of days in the billing
                               P.O. Box 1014                                                 cycle. This gives us the ‘Average daily balance.”
                               Charlotte, NC 28201
   Tell us as soon as you can, if you think your statement or receipt is wrong, or if you    Billing Rights Summary
   need more information about a transfer listed on the statement or receipt. We             In case of errors or questions about your Truist Ready Now Credit Line statement
   must hear from you no later than sixty (60) days after we sent the FIRST statement        If you think your statement is incorrect, or if you need more information about a Truist
   on which the problem or error appeared.                                                   Ready Now Credit Line transaction on your statement, please call 1-844-4TRUIST or
   • Tell us your name and deposit account number (if any)                                   visit your local Truist branch. To dispute a payment, please write to us on a separate
   • Describe the error or transfer you are unsure of, and explain as clearly as you can     sheet of paper at the following address:
        why you believe it is an error or why you need more information                                               Card and Direct to Consumer Lending
   • Tell us the dollar amount of the suspected error                                                                 PO Box 200
    If you tell us orally, we may require that you also send us your complaint or                                     Wilson NC 27894-0200
    question in writing within ten (10) business days. We will tell you the results of our   We must hear from you no later than sixty (60) days after we sent you the FIRST
    investigation within ten (10) business days after we hear from you, and we will          statement on which the error or problem appeared. You may telephone us, but doing
    correct any error promptly. If we need more time, however, we may take up to             so will not preserve your rights. In your letter, please provide the following
    forty-five (45) days to investigate your complaint or questions for ATM                  information:
    transactions made within the United States and up to ninety (90) days for new            • Your name and account number
    accounts, foreign initiated transactions and point-of-sale transactions. If we decide    • Describe the error or transfer you are unsure about, and explain in detail why you
    to do this, we will re-credit your account within ten (10) business days for the             believe this is an error or why you need more information
    amount you think is in error, minus a maximum of $50. If we ask you to put your          • The dollar amount of the suspected error
    complaint in writing, and we do not receive it within ten (10) business days, we may     During our investigation process, you are not responsible for paying any amount in
    not re-credit your account and you will not have use of the money during the time        question; you are, however, obligated to pay the items on your statement that are not
    it takes us to complete our investigation.                                               in question. While we investigate your question, we cannot report you as delinquent
                                                                                             or take any action to collect the amount in question.
   Tell us AT ONCE if you believe your access device has been lost or stolen, or
   someone may have electronically transferred money from your account without               Mail-in deposits
   your permission, or someone has used information from a check to conduct an               If you wish to mail a deposit, please send a deposit ticket and check to your local Truist
   unauthorized electronic fund transfer. If you tell us within two (2) business days        branch. Visit Truist.com to locate the Truist branch closest to you. Please do not send
   after you learn of the loss or theft of your access device or the unauthorized            cash.
   transaction, you can lose no more than $50 if someone makes electronic transfers
   without your permission.                                                                  Change of address
                                                                                             If you need to change your address, please visit your local Truist branch or call Truist
   If you do NOT tell us within two (2) business days after you learn of the loss or theft   Contact Center at 1-844-4TRUIST (1-844-487-8478).
   of your access device or the unauthorized transaction, and we can prove we could

                                        How to Reconcile Your Account                                                  Outstanding Checks and Other Debits (Section A)
                                                                                                                Date/Check #         Amount         Date/Check #          Amount
    1.    List the new balance of your account from your latest statement here:

    2.    Record any outstanding debits (checks, check card purchases, ATM
          withdrawals, electronic transactions, etc.) in section A. Record the
          transaction date, the check number or type of debit and the debit amount.
          Add up all of the debits, and enter the sum here:
    3.    Subtract the amount in Line 2 above from the amount in Line 1 above and
          enter the total here:

    4.    Record any outstanding credits in section B. Record the transaction date,
          credit type and the credit amount. Add up all of the credits and enter the
          sum here:                                                                                                   Outstanding Deposits and Other Credits (Section B)
    5.    Add the amount in Line 4 to the amount in Line 3 to find your balance. Enter                            Date/Type          Amount           Date/Type           Amount
          the sum here. This amount should match the balance in your register.
                 For more information, please contact your local Truist branch, visit Truist.com or contact us at 1-844-4TRUIST (1-844-487-8478). MEMBER FDIC


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